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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 RYE RIDGE CORP., et al.,                                     :
                                            Plaintiffs        :
                                                              :   20 Civ. 7132 (LGS)
                            -against-                         :
                                                              :         ORDER
 CINCINNATI INSURANCE COMPANY,                                :
                                            Defendant.        :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the initial pretrial conference in this matter is scheduled for November 5,

2020, at 10:50 a.m., and no significant issues were raised in the parties’ joint letter or proposed

case management plan;

        WHEREAS, on October 23, 2020, Defendant filed a pre-motion letter, proposing to file a

motion to dismiss (Dkt. No. 18), and on October 29, 2020, Plaintiffs filed a response to the letter

(Dkt. No. 21). It is hereby

        ORDERED that the November 5, 2020, initial pretrial conference is cancelled. If the

parties believe that a conference would nevertheless be useful, they should inform the court

immediately so the conference can be reinstated. The case management plan and scheduling

order will issue in a separate order. The parties’ attention is particularly directed to the provisions

for periodic status letters. The parties should be aware that the Court does not extend the

deadlines for discovery absent compelling circumstances. It is further
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       ORDERED that the parties may proceed with briefing the motion to dismiss. Defendant

shall file its opening motion by November 24, 2020. Plaintiffs shall file their opposition by

December 15, 2020. Defendant shall file its reply by December 28, 2020. The parties shall

comply with the Individual Rules and the Emergency Individual Rules in Light of COVID-19,

regarding briefing requirements, including page limits and courtesy copies.


Dated: November 2, 2020
       New York, New York




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